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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address):

George L. Cohn State Bar #92550
| 2850 Artesia Blvd, Suite 201
Redondo Beach, CA 90278
TELEPHONE NO: 310-370-3730 FAX NO. {Optionan: 310-370-3703
E-MAIL ADDRESS (Optionaf: "

ATTORNEY FOR wame): Plaintiff
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
street Aopress: 1225 Fallon Street
maine Aopress: 1225 Fallon Street
cyano ze cove: Oakland, CA 94612

sranc name: Rene C. Davidson Courthouse
PLAINTIFF: Sallie Mae Servicing, L.P.

 

 

DEFENDANT: Brian Fuller

FOR COURT USE ONLY

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ALAMEDA COUNTY
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JUDGMENT CASE NUMBER:
| [_] By Clerk [_] By Default (_] After Court Trial RG04141210
[_] Bycourt [¥] onstipulation | [_] Defendant Did Not
Appear at Trial
JUDGMENT

1.) BY DEFAULT
a, Defendant was properly served with a copy of the summons and complaint.

_ Defendant failed to answer the complaint or appear and defend the action within the time allowed by law.

b
c. Defendant's default was entered by the clerk upon plaintiff's application.
d

. [_] Clerk’s Judgment (Code Civ. Proc., § 585(a)). Defendant was sued only on a contract or judgment of a court of

this state for the recovery of money.
(__] Court Judgment (Code Civ. Proc., § 585(b)). The court considered
(1) [__] plaintiff's testimony and other evidence.
2) [_] plaintiffs written declaration (Code Civ. Proc., § 585(d)}.

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2. [XX] ON STIPULATION

a. Plaintiff and defendant agreed (stipulated) that a judgment be entered in this case. The court approved the stipulated

judgment and
b. [XX] the signed written stipulation was filed in the case.

c. [__] the stipulation was stated in open court

3. [__] AFTER COURT TRIAL. The jury was waived. The court considered the evidence.

a. The case was tried on (date and time):
before (name of judicial offieer):*
Appearances by:

b.
=

    

   

 

Cc] the stipulation was stated on the record.

    
 

& J Plaintiff (name each): [__] Plaintiffs attorney (name each):
Lay B 0 0 A
aS 3 (2) Q x
a <> .
oss fo Continued on Attachment 3b. \ ag
eid
ul a in Defendant (name each): [__] Defenda oa Ww
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(Li) aa @) (2) que
Ca = Continued on Attachment 3b. N
(OG “s \-
an
c. ro Defendant did not appear at trial. Defendant was properly served with notice of tral. :
d. [£_] Astatement of decision (Code Civ. Proc., § 632) [__] wasnot [_] was requested.

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Form Approved for Optional Use
Judicial Council of Califomla
JUD-100 [New January 1, 2002]

JUDGMENT

Code of Civil Procedure, §§ 585, 664.6

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[ PLAINTIFF: Sallie Mae Servicing, L.P. CASE NUMEER:
. RG04141210
DEFENDANT: Brian Fuller
JUDGMENT IS ENTERED AS FOLLOWS BY: (-X] THE COURT (__] THE CLERK

4.) Stipulated Judgment. Judgment is entered according to the stipulation of the parties.

5. Parties. Judgmentis
a. [Z] for plaintiff (name each):
Sallie Mae Servicing, L.P.

and against defendant (names):
Brian Fuller

[__] Continued on Attachment 5a.

b. [__] for defendant (name each):

c. [__] for cross-complainant (name each):
and against cross-defendant (name each):

[__] Continued on Attachment 5c.

d. (_] for cross-defendant (name each):

 

 

 

 

6, Amount.
a. [7] Defendant named in item 5a above must c. [_] Cross-defendant named in item Sc above must pay
pay plaintiff on the complaint: cross-complainant on the cross-complaint:
(1) [4%] Damages $ 31,497.94 (1) [-] Damages $
(2) [4] Prejudgment $ 2,420.32 (2) [__] Prejudgment $
interest at the interest at the
annual rate of % annual rate of %
(3) ([-] Attomey fees $ (3) [__] Attomey fees $
(4) [7] Costs $ 356.45 (4) [_] Costs $
(5) [-_] Other (specify): $ (5) [__] Other (specify): $
() TOTAL $ 34,274.71 (6) TOTAL $

 

 

 

 

 

 

 

 

b. [__] Plaintiffto receive nothing from defendant
named in item 5b.

[__] Defendant named in item 5b to recover
costs $
[_] and attorney fees $

7. [_] other (specify):
Date: 0) eeaton beg Ke, 2ooy

Date:

[-) Clerk, by

d. [__] Cross-complainant to receive nothing from

 

cross-defendant named in item 5d.

[__] Cross-defendant named in item Sd to recover
costs $
[__] and attorney fees §

 

 

JUDICIAL OFFICER

, Deputy

 

 

 

 

CLERK'S CERTIFICATE (Optional)
| certify that this is a true copy of the original judgment on file in the court.

Date: MAR . 8 2005

  
 
  

Clerk, by

 

AEXECUT:

ry’ © UFFIPER/CLERK

Deputy

 

JUD-100 [New January 1, 2002]

JUDGMENT {di jMara ez.

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PO BOX 6228 ‘
INDIANAPOLIS IN 46206 (800) 251-4127

 

CLERK OF COU R T/SUPERIOR COURT
OF ALAMEDA COUNTY

1225 FALLON ST

OAKLAND CA 94612

Dear CLERK OF COU R T/SUPERIOR COURT, 03/29/05

I, DIANE E KLINGES, representing

HICA EDUCATION LOAN CORPORATION, Assignor, in consideration of the
insurance claim paid by the United States of America to

HICA EDUCATION LOAN CORPORATION, herby assign to the United States
Department of Health and Human Services, Assignee, the judgment
recovered on 12/16/04 docketed in SLAMEDA COUNTY,

Case No. RG04141210,

against BRIAN D FuLLER, 5SA/Ae®4t€f in the amount of
$34,274.71, less costs and attorney fees in the amount of
$33,918.26.

Assignor authorizes the Assignee to ask, demand, receive and to sue out
executions and take all lawful ways for recovery of the money due or to
become due on this judgment.

Assignor has not done and will not do anything to hinder or prevent the
United States of America from enforcing this judgment.

The HICA EDUCATION LOAN CORPORATION address and phone number is:
3900 W TECHNOLOGY CIRCLE, SIOUX FALLS, SD,
57106, (605) 361-5051.

The United States Department of Health and Human Services' address and
phone number is: 5600 Fishers Lane, Room 2B-60, Rockville, MD 20857,
301-443-1782.

I have executed this assignment at HICA EDUCATION LOAN CORPORATION,
3900 W TECHNOLOGY CIRCLE, SIOUX FALLS, SD,
57106, on 03/29/05.

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Ys CL Ve? © k KA4_é 4 { $
(signature) |

 

PHONE (800) 251-4127 ° FAX (800) 848-1949 ° TDD/TTY (888) 833-7562 ° 24 HRS/7 DAYS

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